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2
3
4                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
5                                      AT SEATTLE
6
7      NORTHSHORE SHEET METAL INC.
       et al.,
8                                                   CASE NO.
                                   Plaintiff (s),   2:15−cv−01349−BJR
9                           v.                      STANDING ORDER FOR CIVIL CASES
10     SHEET METAL WORKERS                          SETTING TRIAL DATE, RELATED
       INTERNATIONAL ASSOCIATION,                   DATES, AND COURT PROCEDURES
11     LOCAL 66,
12                               Defendant (s).

13
14    JURY TRIAL DATE                                          July 13, 2020

15    Deadline for joining additional parties                  December 17, 2018
16
      Deadline for filing amended pleadings                    December 27, 2018
17
      Reports from expert witness under FRCP 26(a)(2) due      October 31, 2019
18
19    Discovery completed by                                   January 31, 2020

20    All dispositive motions must be filed by                 February 28, 2020
21
      All motions in limine must be filed by                   May 26, 2020
22
      Joint Pretrial Statement                                 June 15, 2020
23
24    Pretrial conference                                      June 29, 2020

25    Length of Jury Trial                                     10−15 days
26

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1          These dates are set at the direction of the Court after reviewing the joint status
2    report and discovery plan submitted by the parties. If any of the dates identified in this
3    Order fall on a weekend or federal holiday, the act or event shall be performed on the
4    next business day. These are firm dates that can be changed only by order of the Court,
5    not by agreement of counsel or the parties. The Court will alter these dates only upon
6    good cause shown.
7          If the trial date assigned to this matter creates an irreconcilable conflict, counsel
8    must notify the Deputy Clerk, Rhonda Miller, in writing within TEN (10) days of the
9    date of this Order and must set forth the exact nature of the conflict. A failure to do so
10   will be deemed a waiver. Counsel must be prepared to begin trial on the date scheduled,
11   but it should be understood that the trial may have to await the completion of other cases.
12
                            PROCEDURES FOR ALL CIVIL CASES
13
           The following procedures are to be followed in civil cases assigned to this Court.
14
     These practice standards supplement the Federal Rules of Civil Procedure and Local
15
     Rules of the United States District Court for the Western District of Washington. In the
16
     event there is an inconsistency between the Local Rules and these practice
17
     standards, the terms of this Order control. The terms of this Order shall apply to all
18
     pleadings and hearings pertaining to cases assigned to Judge Rothstein and shall have the
19
     force and effect of orders of the Court from this date forward. If the case was previously
20
     assigned to a different District Judge, these practice standards replace those that
21
     previously controlled, but only as to pleadings and hearings from this date forward.
22
           I. Communications with Chambers
23
           Except as provided for in this Order, parties and counsel are discouraged from
24
     contacting chambers. Ex parte communications with Judge Rothstein or her law clerks
25
     involving any matter other than scheduling or notice of settlement are strongly
26

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1    discouraged. In relation to scheduling, unless the other parties have consented to
2    have one party contact the Court alone, all parties must be on the line or copied
3    on the email when communicating with the Court.
4          II. Motions
5              A. Structure, Page Limitations, Deadlines, and Typeface
6          A motion and the legal argument supporting the motion shall be filed as a single
7    document. Pleadings shall not contain a table of cases or a table of authority. Except
8    for Motions for Summary Judgment, all other motions, oppositions, and objections shall
9    not exceed FIFTEEN (15) pages (exclusive of the certificate of service). Replies shall
10   not exceed TEN (10) pages unless otherwise noted. Leave of Court must be obtained to
11   file a sur−reply. If leave is obtained, sur−replies shall not exceed FIVE (5) pages.
12         Motions to exceed the page limitations will be granted only when the matter is one
13   of extraordinary complexity.
14         Oppositions shall be filed no later than TWENTY−ONE (21) DAYS after the
15   filing of a Motion. A moving party's reply shall be filed no later than FOURTEEN (14)
16   DAYS after an opposition has been filed. These deadlines apply to ALL motions.
17   Where there is a discrepancy between the local rules and these dates, these dates control.
18         Motions, oppositions, objections, replies, and sur−replies shall be double−spaced
19   and filed in no less than 12−point font in the text and 10−point font in the footnotes. The
20   pleadings shall contain page numbers and have margins of no less than 1 inch. Pleadings
21   which do not comply with these instructions may be summarily denied or stricken.
22             B. Courtesy Copies
23         The Court DOES NOT ACCEPT courtesy copies of pleadings.
24         In matters requiring that an administrative record be filed with the Court, parties
25   must provide a copy of the record to chambers on a compact disc. No physical copy
26   of the record shall be filed. Parties shall contact the Deputy Clerk, Rhonda Miller

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1    at 206−370−8518 to secure the proper mailing address.
2              C. Certification of Conferral
3          Except for dispositive motions, motions shall contain a certification that the parties
4    have met and conferred. (But see Section F infra, for conferral requirements as to
5    motions to dismiss). The certification should be clearly visible within either the first
6    substantive paragraph or the final paragraph of the motion. Parties must make a
7    meaningful effort to confer prior to filing a motion. For example, waiting until the
8    expiration of a deadline and contacting the opposing party, receiving no immediate
9    response, and then filing the motion does not satisfy that duty. Parties should provide for
10   at least three (3) business days between attempts to confer and a motion's filing and
11   shall explain their specific efforts to comply if contact was not successfully made.
12   Motions that do not comply may be summarily denied.
13             D. Requests for Extensions of Time
14         Motions for extensions of time are discouraged and will be granted only where
15   good cause is clearly evident. Accordingly, parties should not expect the Court to grant
16   extensions even if they are unopposed, absent the necessary showing. Press of business
17   in other matters ordinarily does not evidence good cause.
18         Motions for extensions of time should be filed at least three (3) business days in
19   advance of the expiration of the relevant deadline. Any opposition must be filed within
20   two (2) business days of the motion. Untimely motions or responsive pleadings may be
21   summarily denied, stricken, or ignored.
22             E. Requests to Reschedule Hearings
23         Motions to Reschedule are discouraged because of their impact on the Court's
24   calendar. Such motions will be permitted rarely. If rescheduling is necessary, the motion
25   shall be filed no later than FIVE (5) business days before the scheduled hearing. The
26   motion shall contain alternative dates and times which are available for all parties.

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1    If the suggested dates and times are not available on the Court's calendar, the Court
2    will select a date and time sua sponte.
3              F. Dispositive Motions
4          A motion pursuant to Fed. R. Civ. P. 12(b) is discouraged if the defect can be
5    cured by filing an amended pleading. Therefore, the parties must meet and confer
6    prior to the filing of a Motion to Dismiss to determine whether it can be avoided.
7    Consequently, such motions must contain a certification of conferral as set forth above
8    in Section II (C). In addition, parties shall endeavor not to oppose timely motions to
9    amend.
10         A motion pursuant to Fed. R. Civ. P. 56 and oppositions thereto, shall not
11   exceed THIRTY (30) pages (exclusive of the certificate of service). Replies shall not
12   exceed TWENTY (20) pages. If leave to file a sur−reply is given, it shall not exceed
13   TEN (10) pages. A motion for summary judgment may be filed at any time during the
14   case prior to expiration of the dispositive motions deadline.
15             G. Motions for Reconsideration
16         Motions for Reconsideration are discouraged. Motions which reassert
17   prior arguments or raise new arguments that could have been made earlier will be
18   summarily denied. Motions for reconsideration and oppositions, thereto shall not
19   exceed TEN (10) pages (excluding the certificate of service). Replies shall not
20   exceed FIVE (5) pages.
21             H. Hearings on Motions
22         Regardless of any party's request for oral argument, the Court retains discretion to
23   resolve the motion on the briefs. If the Court finds that oral argument is necessary, the
24   parties shall be limited to TWENTY (20) minutes per side plus FIVE (5) minutes
25   for rebuttal unless otherwise ordered.
26

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1          III. Discovery Disputes
2          No opposed discovery motions are to be filed with the Court until the parties
3    meaningfully comply with Fed. R. Civ. P. 37(a)(1). If the parties are unable to reach an
4    agreement on a discovery issue after conferring, they shall arrange a telephone hearing
5    with the Court regarding the issue. Both of these steps must be completed before any
6    opposed discovery motions are filed. Noncompliant motions may be summarily denied
7    or stricken.
8          To arrange a telephone hearing, all counsel (not support staff) for the disputing
9    parties shall contact Judge Rothstein's Washington D.C. chambers at (202) 354−3330
10   on a single line. Counsel shall be prepared to summarize the dispute(s) at issue and, if
11   Judge Rothstein is available, be ready to make their legal arguments. In the event that
12   the hearing is set for a future date, counsel shall also also have their calendars available.
13   Counsel shall not contact the Court until they have sufficiently narrowed the disputed
14   issues to only those they cannot, without Court assistance, resolve themselves. Because
15   the Court expects that the parties should contact it only as a last resort, counsel found
16   to be unreasonably delaying discovery may be sanctioned.
17         Discovery disputes shall be raised in a timely manner so as to allow discovery to
18   be completed within the discovery deadline. The failure to do so may waive a party's
19   ability to challenge the discovery behavior.
20         In the event that the Court permits the filing of an opposed discovery motion, the
21   motion shall contain a verbatim recitation of the discovery request and objection (if any)
22   at issue or shall attach a copy of such. Again, if the Court must resolve the discovery
23   dispute by motion, the losing party may be sanctioned.
24         Notice of these discovery procedures shall be provided to third parties who
25   receive discovery requests from the parties. They, too, shall be expected to comply
26   with these procedures. Should the case be referred to a Magistrate Judge for

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1    discovery purposes, no opposed discovery motions shall be filed until the party has
2    contacted the Magistrate Judge to be informed of his/her procedures for resolving
3    discovery disputes.
4           IV. Rule 16(b) Initial Status Conference and Scheduling Order
5           Unless specific circumstances require it, Judge Rothstein will not hold a Fed. R.
6    Civ. P. 16(b) Initial Status Conference. Instead, Judge Rothstein will review the parties'
7    combined Joint Status Report and Discovery Plan as required by FRCP 26(f) and Local
8    Civil Rule 26(f) and issue a Scheduling Order as soon as practicable thereafter.
9           V. Settlement
10          The parties shall evaluate the opportunity for settlement at the outset of the case
11   regardless of whether the parties' obligation to meet and confer has been triggered.
12   To that end, the parties shall contact chambers to request mediation (with a Magistrate
13   Judge, private mediator, or the Court's mediation program),arbitration, or any other
14   form of alternate dispute resolution where they are in agreement that such would be
15   helpful. Although the Court expects the parties to address settlement at the outset of the
16   case, the parties have an ongoing obligation to explore possible settlement options. If
17   the matter settles, in whole or in part, the parties shall promptly file a Notice of
18   Settlement and advise the Court how much time is needed to file dismissal papers.
19          VI. Pretrial Conference
20          TWENTY−EIGHT (28) days prior to the Trial Date, the parties shall submit a
21   Joint Pretrial Statement which addresses matters set forth below (in the order they are
22   listed):
23               a. a short, concise statement of the case;
24               b. any facts to which the parties can stipulate;
25               c. designation of depositions and objections thereto;
26

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1              d. itemization of damages and a summary of other relief requested;
2              e. a summary of any pending Motions in Limine and the opposition thereto;
3              f. a statement concerning whether settlement negotiations have been or would
4                  be beneficial;
5              g. an updated estimate of the length of trial;
6              h. a schedule of witnesses and a brief summary of their expected testimony
7                  and any objections thereto (attached as separate documents);
8              i. a list of exhibits and any objections thereto (attached as separate
9                  documents);
10             j. proposed jury instructions (see also Section VIII, D at Jury Instructions;
11             k. proposed verdict forms; and
12             l. proposed questions for voir dire.
13         While the parties are admonished to reach an agreement on all issues, items
14   of disagreement may be called to the Court's attention in the statement. The parties
15   shall, in concise form, note any relevant case law supporting their positions.
16   In no event shall the parties file separate statements. Where possible, the Court
17   will resolve areas of disagreement at the Pretrial Conference. Otherwise, the Court
18   will direct the parties to submit further briefing. In addition to filing the Joint
19   Pretrial Statement on the docket, the parties shall deliver a hard copy to chambers in
20   a binder that has an index with items a−l above on labeled dividers. Parties shall
21   contact Judge Rothstein's Washington D.C. Chambers at 202−354−3330 to secure
22   the proper mailing address.
23         VII. Courtroom Procedures
24         Counsel with authority to make scheduling decisions shall appear on behalf of
25   the parties at all court appearances. Counsel and pro se parties shall observe
26   traditional courtroom decorum, including that they shall rise to address the Court and

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1    remain at the podium unless granted permission to approach the bench or a witness.
2    When not addressing a witness, counsel and pro se parties shall direct all statements to
3    the court.
4           VIII. Trial Procedures
5                      A. General
6           Schedule: Unless otherwise notified, trials are normally set to begin at 9:30 a.m.
7    On each day of trial, counsel are expected to be present thirty minutes prior to the start
8    to discuss any upcoming issues. To ensure that the morning pretrial hearing is
9    productive and efficient, counsel shall meet after the conclusion of each trial day
10   and attempt to resolve or refine upcoming disputes.
11          The normal trial day goes from 9:30 a.m. to noon and 1:30 p.m. to 4:30 p.m., with
12   morning and afternoon breaks fifteen minutes in duration at the Court's discretion.
13          Recording of Proceedings: The official record of all trials and proceedings
14   will be taken either by electronic sound recording or by a realtime court reporter.
15          Glossary: Where necessary, counsel shall confer and prepare a joint glossary of
16   any unusual or technical terminology. The glossary shall be submitted to chambers no
17   later than FIVE (5) business days in advance of the start of trial. Copies shall also be
18   provided to the courtroom deputy and Court reporter (if any) on the first day of trial.
19          Trial Briefs: No trial briefs are allowed unless specifically ordered by the Court.
20                B. Exhibits
21          On the first day of trial, counsel for each party shall provide the courtroom
22   deputy: (1) an original set of marked exhibits in a notebook for the use of witnesses
23   during trial; (2) three duplicate sets of marked and bound exhibits for the court's use
24   during trial; and (3) an original and three copies of each party's respective witness and
25   exhibits lists.
26          The Court will rule on the admissibility of exhibits at the Final Pretrial Conference.

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1    Once ruled on, counsel may refer to them in argument or during the examination of
2    witnesses and need not lay a foundation for their admissibility or move their admission
3    during the trial. Impeachment or rebuttal exhibits (those whose sole purpose is to attack
4    a witness' veracity) need not be disclosed at the Final Pretrial Conference, but they
5    should be pre marked, when possible, so that they will be immediately useable at trial
6    without the necessity for labeling by the courtroom deputy.
7          Exhibits shall be marked by number (P1, P2, P3, etc., D1, D2, D3, etc., or, for
8    Joint Exhibits, J1, J2, J3, etc.) and groups of exhibits shall be marked by number and
9    letter (P1A, P1B, P1C, D1A, D1B, D1C, J1A, J1B, J1C, etc.).
10               C. Statements and Witnesses
11         Opening Statements: Except for especially complex cases, or otherwise authorized
12   by the court, opening statements shall be limited to no more than THIRTY (30) minutes
13   per side.
14         Witnesses: The rule on exclusion of witnesses will be in effect throughout the
15   trial until the time of closing arguments and instructions. Other than parties and their
16   representatives, all witnesses must remain out of the courtroom except while testifying.
17   After completion of testimony, a witness may remain in the courtroom but cannot
18   then be recalled. If counsel desire a waiver of the rule with respect to a specific
19   witness (for example, an expert), counsel shall first discuss the matter with opposing
20   counsel and then present the request to the court during the preliminary morning session
21   prior to the start of trial on the particular day at issue. Counsel shall instruct witnesses
22   not to discuss their testimony with other witnesses, either during or after they complete
23   their testimony.
24         Once the trial begins, witnesses will be put on call at the peril of the calling party.
25   The trial will not be recessed because a witness is unavailable except in extraordinary
26   circumstances. If alerted ahead of time, the court will endeavor to accommodate

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1    witnesses with scheduling problems.
2          The use of an exhibit notebook should obviate the need to approach the witness.
3    If extraordinary circumstances exist, counsel may approach the courtroom deputy who, in
4    turn, will approach the witness. Otherwise, counsel are required to remain at the podium.
5    Where counsel seeks to impeach a witness by use of that witness' prior deposition or
6    other discovery materials, copies of the relevant document must be provided to the
7    witness, the court, and opposing counsel.
8          Examinations: Counsel are advised to avoid eliciting witnesses' personal
9    identifiers such as social security numbers, financial account information, names of
10   minor children, dates of birth and home addresses. If such information inadvertently
11   becomes part of the record, counsel may request redaction of such items.
12         Experts: A proper resume or curriculum vitae, marked as an exhibit, shall be
13   provided in the exhibit notebooks.
14             Jury Trials:        Questions intended to qualify the witness as an expert
15                                  shall be brief.
16             Trials to the Court: A proper resume or curriculum vitae generally will
17                                  suffice for the determination of an expert witness'
18                                  qualification without additional questioning.
19         Depositions: All original deposition transcripts should be delivered to the
20   courtroom deputy before the start of trial.
21         Deposition Testimony: The intent to utilize deposition testimony should be
22   included in the proposed Joint Pretrial Order after counsel have conferred and
23   narrowed any objections. If differences remain, counsel for the offering party shall
24   provide to the court two (2) copies of the designated transcript FIVE (5) business days
25   prior to the Final Pretrial Conference, each with plaintiff's designations highlighted in
26   yellow and defendant's designations highlighted in blue and objections noted.

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1              Jury Trials:        Counsel offering the deposition testimony is required
2                                   to provide a person to read the designated portions of
3                                   transcript.
4              Trials to the Court: Deposition transcripts will not be read at trial.
5          Videotaped Depositions: The intent to utilize videotaped deposition testimony
6    should be included in the proposed Joint Pretrial Order after counsel have conferred
7    and narrowed any objections. If differences remain, the dispute(s) should be summarized
8    in the Joint Pretrial Order and the matter will be addressed at the Final Pretrial
9    Conference.
10         Objections: "Speaking objections" in the presence of the jury will not be
11   permitted. Counsel must stand when raising objections and limit the objections to
12   shorthand phrases such as "hearsay," "lack of foundation," "asked and answered," etc. If
13   additional discussion is needed, counsel must request to approach the bench. However,
14   frequent or protracted bench conferences are discouraged.
15         Counsel requesting that an immediate jury instruction be given to the jury must
16   provide the court with the proposed text of the jury instruction.
17         Closing Arguments: Closing arguments generally will be limited to no more
18   than FORTY FIVE (45) minutes per side. Requests for longer presentations must be
19   submitted to the court before closing arguments begin. Plaintiff may reserve for rebuttal
20   up to one half of the time actually used during the direct argument. Counsel are reminded
21   that it is improper to argue matters not in evidence or to express personal opinions or
22   beliefs about the case.
23             D. Jury Trials
24         Proposed joint voir dire, proposed joint jury instructions, and verdict forms shall
25   be filed TWENTY−EIGHT (28) days prior to the Trial Date as part of the Joint
26   Pretrial Statement.(See Section VI, supra.).

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1          In civil trials, the jury shall consist of nine jurors. Each side shall have three
2    peremptory challenges.
3          Voir Dire: The court will conduct voir dire and will consider proposed joint voir
4    dire questions submitted in advance by counsel. Counsel may also submit addtitional
5    individually directed written questions during the voir dire that the court will ask the
6    individual jurors. Counsel for each party may have TEN (10) minutes each to further
7    question the prospective jurors. Counsel shall not ask questions submitted to and rejected
8    by the court.
9          Preliminary Instructions: After the jury is selected and sworn, the Court will
10   give preliminary instructions to the jury. These instructions will generally include a
11   description of the trial process, the responsibilities of the participants, the burden of
12   proof, the daily trial schedule, procedures governing juror note taking and the duty not
13   to discuss the case with anyone until deliberations begin. If counsel for any party
14   desires that any additional preliminary instructions be given, he/she shall include a
15   request in the proposed joint jury instructions.
16         Note Taking by Jurors: Generally, jurors will be permitted to take notes in
17   notebooks which the Court will provide. The jurors will be given a preliminary
18   instruction about note taking. During recesses, jurors will be required to leave their
19   notebooks in the courtroom. At the end of each day, the notebooks will be collected by
20   the courtroom deputy, and will be placed back on the jurors' seats at the commencement
21   of the trial on the following day. At the end of the trial, the jurors will be permitted to
22   take their notebooks to the jury room for use during deliberations. At the end of
23   deliberations, any notes taken by jurors will be destroyed.
24         Jury Instructions: To the maximum extent possible, counsel for the parties
25   shall agree on one stipulated set of proposed jury instructions; only uncertainty in
26   the binding substantive law should prevent such agreement. Each instruction should

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1    begin on a new page. Where disagreements arise, the proposed jury instructions shall
2    include the alternate instructions and argument and authority for the instruction not
3    to exceed TWO (2) pages for each party and instruction.
4          Final Jury Instructions: Prior to the closing arguments, the Court will advise
5    counsel of the Court's determinations concerning instructions to be given to the jury.
6    Where warranted, the Court will conduct a jury instruction conference to allow counsel
7    to lodge argument related to disputed jury instructions.
8          The jury will be instructed prior to closing arguments. A written copy of the
9    instructions will be given to each juror when the jury commences its deliberations.
10         Deliberations: The jury will be given all admitted exhibits, the written jury
11   instructions, and any verdict form and special interrogatories that the Court has decided
12   to use. Throughout jury deliberations counsel must be within twenty minutes of the
13   courthouse in order for the Court to expeditiously respond to any jury notes or a verdict.
14   Counsel who choose not to remain in the immediate vicinity of the courtroom must
15   provide the courtroom deputy or law clerk with a telephone number where they can be
16   contacted. Unless counsel object, the jury will not be brought into the courtroom to be
17   excused at the end of the day, nor for resumption of deliberations when it returns the
18   following day. Instead, the courtroom deputy or law clerk will excuse the jury from the
19   jury room at the end of the day and collect all exhibits, notebooks, and verdict forms.
20   These items will be returned to the jury room when the jury returns the next morning
21   to continue its deliberations. The jury will be reminded that they are not permitted to
22   discuss the case with anyone.
23             E. Trials to the Court
24         Proposed findings of fact and conclusions of law shall not be filed in advance of
25   trial. Where necessary, the Court will order that such documents be filed at the
26   conclusion of trial.

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1          IX. Compliance
2          A failure by any party to fully comply with this order may result in the imposition
3    of sanctions.
4
5              SO ORDERED.
6              The 19th of November 2018.
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9
                                             BARBARA J. ROTHSTEIN
10                                           UNITED STATES DISTRICT JUDGE
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